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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 Minnesota Department of Natural                         Case No. 21-cv-1869 (WMW/LIB)
 Resources et al.,

                                Plaintiffs,
                                                   ORDER DENYING PLAINTIFFS’
        v.                                           LETTER REQUEST FOR
                                                  PERMISSION TO FILE A MOTION
 The White Earth Band of Ojibwe and                     TO RECONSIDER
 Hon. David A. DeGroat, in his official
 capacity as judge of the White Earth Band
 of Ojibwe Tribal Court,

                                Defendants.


       Before the Court is Plaintiffs’ September 5, 2021 letter requesting permission to file

a motion to reconsider this Court’s September 3, 2021 Order denying Plaintiffs’ motion for

a preliminary injunction and dismissing the complaint for lack of subject-matter

jurisdiction. (Dkt. 21.)

       Pursuant to Local Rule 7.1(j), a party may receive permission to file a motion for

reconsideration only by showing “compelling circumstances.” LR 7.1(j). “Motions for

reconsideration serve a limited function: to correct manifest errors of law or fact or to

present newly discovered evidence.” Hagerman v. Yukon Energy Corp., 839 F.2d 407,

414 (8th Cir. 1988) (internal quotation marks omitted). Absent a manifest error of law or

fact, a motion for reconsideration cannot be employed to repeat arguments previously made,

introduce evidence or arguments that could have been made, or tender new legal theories

for the first time. See id.
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       Plaintiffs argue that the Court erroneously concluded that Defendant Hon. David A.

DeGroat, Chief Judge of the White Earth Band of Ojibwe Tribal Court (Tribal Court), is

protected from suit by sovereign immunity. Plaintiffs argue that Chief Judge DeGroat may

be sued under Ex Parte Young. The Ex Parte Young doctrine “rests on the premise—less

delicately called a fiction—that when a federal court commands a state official to do

nothing more than refrain from violating federal law, he is not the State for sovereign-

immunity purposes. The doctrine is limited to that precise situation.” Va. Off. for Prot. &

Advoc. v. Stewart, 563 U.S. 247, 255 (2011) (internal citations and quotation marks

omitted). The doctrine “does not apply when the state is the real, substantial party in

interest, as when the judgment sought would expend itself on the public treasury or domain,

or interfere with public administration.” Id. When determining whether the sovereign is

the real party in interest, “courts may not simply rely on the characterization of the parties

in the complaint, but rather must determine in the first instance whether the remedy sought

is truly against the sovereign.” Lewis v. Clarke, 137 S. Ct. 1285, 1290 (2017). “[T]he

general criterion for determining when a suit is in fact against the sovereign is the effect of

the relief sought.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 107 (1984).

“The general rule is that relief sought nominally against an officer is in fact against the

sovereign if the decree would operate against the latter.” Hawaii v. Gordon, 373 U.S. 57,

58 (1963). Such a suit is barred “regardless of whether it seeks damages or injunctive

relief.” Pennhurst, 465 U.S. at 101–02.

       Here, Plaintiffs sued Chief Judge DeGroat in his official capacity. But the relief

Plaintiffs seek is an injunction preventing the Tribal Court from acting. To be effective,


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the injunction Plaintiffs seek necessarily would have to operate against the Tribal Court

rather than simply against an individual judge. Otherwise, Chief Judge DeGroat’s recusal

from the tribal court proceeding would have mooted the injunction Plaintiffs sought. For

these reasons, Plaintiffs’ suit against Chief Judge DeGroat was one in which the Tribal

Court was the real, substantial party in interest.

       Plaintiffs have failed to demonstrate that the Court committed any manifest errors

of law or fact in concluding that Plaintiffs’ suit was, in effect, against the Tribal Court, and

thus barred by sovereign immunity. For these reasons, the Court denies Plaintiffs’ request

for permission to file a motion to reconsider the Court’s September 3, 2021 Order.

                                           ORDER

       Based on the foregoing analysis and all the files, records and proceedings herein, IT

IS HEREBY ORDERED that Plaintiffs’ request for permission to file a motion to

reconsider, (Dkt. 21), is DENIED.


Dated: September 10, 2021                                  s/Wilhelmina M. Wright
                                                           Wilhelmina M. Wright
                                                           United States District Judge




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